Case 2:03-cv-02352-.]PI\/|-tmp Document 119 Filed 07/07/05 Page 1 of 2 _ Page|D111

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IN THE UNITED STATES DISTRICT COURT '
FOR THE WESTERN DISTRICT OF TENNESSEE 05`}[1 ,_7 nn 62 he

WESTERN DIVISION
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COURTNEY MONTEZ MEANS,
Plaintiff,
vs. Civ. No. 03-2352-M1[P

SHELBY COUN'TY.r et al.,

Defendants.

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ORDER GRANTING DEFEN'DANTS’ MOTION TO EXTEND TIME TO RESPON'D TO
PLAINTIFF’ S MOTION TO COMPEL

 

Before the court is defendants' Motion to Extend Time to
Respond to Plaintiff's Motion to Compel, filed July 5, 2005 (dkt
#118). For good cause shown, defendants motion is GRANTED.
Defendants shall have up to and including dAugust 5, 2005, to

respond to plaintiff's motion to compel.

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TU M. PHAM
United States Magistrate Judge

Tu`v\ L, 7»'~\5"'
Date U '

IT IS SO ORDERED.

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Honorable J on McCalla
US DISTRICT COURT

